 

Page 2

AMENDED rae

MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASEBE, OR CORRECT

SENTENCE BY A PERSON IN FEDERAL cusToDyY | ee py
VIB cy HORS

 

 

 

 

 

 

 

 

 

 

United States District Court District Southern Di shri c¥ of Trdiona
Name (under which you were convicted): Docket or Case No.: :
ene, Gildec , Je: ViA6CROO10T-00
Place of Confinement: ©‘ ° Gox 356 | Prisoner No.:
Ect K\e. . a
Beaver WV 2.5413 15146- 02%
| UNITED STATES OF AMERICA Movant (include name under which convicted)
«Donnell Eugene Gilder, Se. ro Se

MOTION

(a) Name and location of court that entered the judgment of conviction you are challenging: ( ) Wi \ ed
Stores Distick Couck 5 Southern Dishick of Trdionon,
U.S. Couckhonse 5 Hb Fock Ohia Sireet sLndianapelis TN HL2O4 |
(b) Criminal docket or case number (if you know): { : { bL C ROO'1 O7- 09 1
(a) Date of the judgment of conviction (if you know): Plead auilty March 13,2017:
(b) Date of sentencing: __) uly 16. 2oAtl] ~ : "
3. Length of sentence: HLO , Months & \ Dey :

. Nature of crime (ali counts): C eunk \, has 34 54 6 _ 14 g wie 10, AA

chacaed with Lyterbetence with Commerce by Rebbery

CA$ 20,5,C.§ 1951), Counk 12, 135145159,16, 17,185

A9 2A chataed with Brandishina « Fire ot Dating Ww :
Caitne of Viclenwwe CA U.S.C. 8 WAC), Count 20,20
chacaed with Nischataina a Firearm Nucing a Crime of Violence
(2) What was your plea? (Check one) “~ . ~ C18 U.S.C. $924Ce)).-

. (1) Not guilty O (2) Guilty i (3) Nolo contendere (no contest) O
(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, ,
what did you plead guilty to and what did you plead not guilty to? wi \* Lo AV
AM Interderence with Commerce by Threats of

Vielence (1% 0.9.C, § 1951 Cod), Count ZO & LDL

Knowinaly Wischarae oa Firearm Nuring ond iin celation

fo om chime of Violence (1h v.9.C. § 974 (<) AAD).
If you went to trial, what kind of trial did you have? (Check one) N/A Jury O Judge only O
Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes O No }&
Page 3

8. Did you appeal from the judgment of conviction? Yes No §
9. If you did appeal, answer the following:

(a) Name of court; _.N [ A

(b) Docket or case number (if you know): _N ZN

(c) Result: N/A

(4) Date of result (if you know): __N L A

(¢) Citation to the case (if you know): _N ZA

(f) Grounds raised: N L A

 

 

 

 

 

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes (1 No by
If“Yes,” answer the following:
(1) Docket or case number (if you know): N/A
(2) Resuit: N/N

 

(3) Date of result (if you know): _Nv L A
(4) Citation to the case (if you know): NV A
(5) Grounds raised: Ni LN

 

 

 

 

 

 

10. Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications
concerning this judgment of conviction in any court?
Yes Q No bf
11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of cout: N/A |
(2) Docket or case number (if you know): N [ A
(3) Date of filing (if you know): N L A
(4) Nature of the proceeding: N Lf A
(5) Grounds raised: N 7A
Page 4

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
N / A Yes Q No Q .
(7) Result: N LN
(8) Date of result Gf you know): N [ A
(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court: N A .
(2) Docket or case number (if you know): [NV /, A
(3) Date of filing (if you know): _N / A
(4) Nature of the proceeding: N Ll A
(5) Grounds raised: NV ZA

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
N/A Yes Q No O
(7) Result:_N JB
(8) Date of result (if you know): Ni / N
(c) Did you appeal to a fedoral appellate court having jurisdiction over the action taken on your motion, petition,

or application?
(1) First petition: | Yes Q No
(2) Second petition: Yes) No

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

NZA

 

 
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12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the

facts supporting each ground,

crounp one: Petitioner Gilder ceceived Tene Wectine Assistance
of Crunsel, See Strickland vs Wash ington 5466 63 CAIEA).
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): Te: rote
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induces nis dine’ client +e plead auilty based o
patently ectoneous and incorrect oadvice cendered te
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J 7 provided to him by defense counse \- See

(b) Direct Appeal of Ground One: b A Yok Y - .
s V. q On 4, ] L i
(1) If you appealed from the juderbere nt CS dion aid yeu raise this Sous? 454 F, 2.3 12% C “ iS iC.

N/A ¥es O No O
(2) If you did not raise this issue in your direct appeal, explain why: Ki / NK

 

 

 

 

{c) Pest-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?

N/A Yes O No Mm

(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:_N\ / A
Name and location of the court where the motion or petition was filed: NA / A

 

 

Docket or case number (if you know):_N\ / A

Date of the court’s decision:_N. A
Result (attach a copy of the court’s opinion or order, if available):_N / A

 

 

 

(3) Did you receive a hearing on your motion, petition, or application?
N / A Yes O No Q
Page 6

(4) Did you appeal from the denial of your motion, petition, or application?
N/P\ Yes No O

(5) If your answer to Question (c}(4) is “Yes,” did you raise this issue in the appeal?
rw Yes O No Q

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: IN / \

 

Docket or case number (if you know): ni/ A
Date of the court's decision:_[N A
Result (attach a copy of the court’s opinion or order, if available):__N\ l A

 

 

(7) If your answer to Question (c}(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
issue: NZ A

 

 

 

 

crounp two: _ 2% V-9.C. 8924 Co) nconsts jubional\y

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® Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.): > No Jats rc
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(b) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?
N /; \ YesQ NoQ ©
(2) If you did not raise this issue in your direct appeal, explain why: N /s

 

 
Page 7

{c) Post-Conviction Proceedings:

(1) Did’you raise this issue in any post-conviction motion, petition, or application?
N/ A. Yes O No y ~

(2) If your answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: N J AX

Name and location of the court where the motion or petition was filed: N [ A

 

Docket or case number (if you knew): Ni / iN
Date of the court’s decision:__N XV
Result (attach a copy of the court’s opinion or order, if available): NC L NX

 

 

(3) Did you receive a hearing on your motion, petition, or application?
NVA Yes Q No Q
(4) Did you appeal from the denial of your mation, petition, or application?
N / Yes O No 0
(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
N | A Yes Q No OD
(6) If your answer to Question (c)(4) is “Yes,” state: ,
Name and location of the court where the appeal was filed: N / AY

 

Docket or case number (if you know):_N. / NK
- Date of the court’s decision:_Ni hy '
Result (attach a copy of the court’s opinion or order, if available):_ N / XN

 

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
issue: WN / A :

 

 

 

 

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(a) Supportiag facts (Do not argue or cite law. Just state the specific facts that support e claim,):
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(b) Direct Appeal of Ground Three:

(1) If you appealed from the judgment o1 of conviction, did you raise this issue?

N/A Yes O No O

@) if you did not raise this issue in your direct appeal, explain why: NS / A

 

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
N / A Yes O No Xi
(2) If your answer to Question (e)(1) i is “Yes,” state:
Type of motion or petition: N A
‘Name and location of the court where the motion or petition was filed: N / A

 

Docket or case number (if you know): N / Ay
Date of the court’s decision: ni / A
Result (attach a copy of the court’s opinion or order, if available): N / A

 

 

(3) Did you receive a hearing on your motion, petition, or application?
N / A. Yes No O oS

(4) Did you appeal from the denial of your motion, petition, or application?

n/p, Yes G No O

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
N/A, ¥es GQ No O

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: W [ A

 

Docket or case number Gf you know): N/A
Date of the court’s decision:_ W\
/ Page 9
Result (attach a copy of the court’s opinion or order, if available): N / A

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue: N / KX

 

 

 

 

GRounp Four: Deditionel_ (ilders sentence Wiolates ne Sixth
Nmend mer’ . See A\\cyne. vu Unctead Stades y S70 Y.s. INS S Ch.

QASI,AbG L- Ed: Ad
(a) Supporting facts (De not argue or cite law. Just state the specific facts that support your claim.): |

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Apwendi ve United States , 530 us. ak 490 (2,000) .

(b) Direct Appeal of Ground Four:

 

 

1) If you appealed from the judgment of conviction, did your raise this issue?
N/A yes GO No O

(2) If you did not raise this issue in your direct appeal, explain why: N } A

 

(c) Post-Conviction Proceedings:

_()) Did you raise this issue in any post-conviction motion, petition, or application?

N / P\ Yes Q No ¥
(2) If your answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:_\\ / AN

Name and location of the court where the motion or petition was filed:_N / A

Docket or case number (if you know):_ Ni /A
Date of the court’s decision _N A-
Page 10

Result (attach a copy of the court’s opinion or order, if available): N / A

 

 

(3) Did you receive a hearing on your motion, petition, or application?
N/A Yes O No Q

(4) Did you appeal from the denial of your motion, petition, or application?
N/A Yes Q No Q .

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
N/ A Yes O No Q

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: N / A

 

Docket or case number (if you know): N / A.
Date of the court’s decision:__N 7A
Result (attach a copy of the court’s opinion or order, if available):__N / A

 

 

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

ise: N/A

 

 

 

 

13. Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them: LL he.
grounds ond issues sek Perth efein love NOT
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of iw ONY couck:

 

 

 

14, Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
judgment you are challenging? YesQ No® WN / A ;
If “Yes,” state the name and -location of the court, the docket or case number, the type of proceeding, and the
issues raised. bh L A

 

 
15.

16.

i7.

Page 11

 

 

Give the name and address, if known, of each attorney who represented you in the following stages of the
judgment you are challenging:
(a) At preliminary hearing: A / A

 

(b) At arraignment and plea: “Gueadalyn NM. Betz 5 Es¢ i AAA
_Monumen* Ciccle. Suite 22.00, WEndiananpelis EN A6L04
(c) Attrial: i) 7A

 

(d) At sentencing: Gwendolyn WM. Peitz.. Esq 5 AAN
_Menume nt Cicc\é , Suite 2200, Endionapelis EN kro

(©) On appeal: NV / AV

 

(f) In any post-conviction proceeding: Ni / KK

 

(e) On appeal from any ruling against you in a post-conviction proceeding: _ NJ / A

 

 

Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court

and at the same time? Yes No O

Do you have any future sentence to serve after you complete the sentence for the judgment that you are

challenging? Yes ONo @

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:
N/A |

(b) Give the date the other sentence was imposed: _Ni / &

(c) Give the length of the other sentence: __ N) in

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or

sentence to be served in the future? Yes CQNo &

 
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18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your-motion.*
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James L. Sweeney pat, United Stokes Oistect Cot
Audce Sor “Yas EA When Misire = of ial iN 4 aga lest
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* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,

paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shali nm from

the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of the
Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has been
newly recognized by the Supreme Court and made retroactively applicable to cases on collateral review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered through

the exercise of due diligence. |
Page 13

Therefore, movant asks that the Court grant the following relief: __¢ co Cl ect OW d
Ce. ~ sentence under 4lne aQrounds resented,
particu lac y. under He First Step Net.

or any other relief to which movant may be entitled.

— (en sed

Signature of Attomey (if any)

 

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this
Motion Under 28 U.S.C. § 2255 was placed in the prison mailing system on _\\ Veg WANs =
A ew (month, date, year).

 

 
  
 
 
 
  
  

(date).

Daweh C Jul. |
“sg

igwtature, of Movant

st?

ICIAL SEAL
NOTARY PUBLIC
STATE OF WEST VIRGINIA

— JARROD BALLARD
8 1600 INDUSTRIAL PARK ROAD (
y BEAVER, WV 25813 (
My commission expires March 16, 2021

 

Py Pars

    

Te ERE. 202. sein ov sa
the per i ighing is not tnovant! 316 é re \fdndhip to movant and explain why movant is not signing this

motion. N Py

 

 

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